Case 1:21-cr-00209-CKK Document 48 Filed 03/11/21 Page 1 of 4

UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA
Criminal No.
19-mj-00266 (DAR)
Vv.

ANDREW ROBERTSON, : VIOLATION:

18 U.S.C. § 1341 (Mail Fraud)
Defendant.

INFORMATION

The United States Attorney charges that:
Introduction

At all times material to this Information:

1. Firm A was an international law firm with offices located throughout the United
States, Asia, and Europe, including an office in Washington, D.C. and an office in Northern Virginia.
The firm had over 1,000 lawyers who advised clients across a range of industries and practices.
Within the law firm, there were also administrative assistants and managers who helped maintain
and support day-to-day operations and general office upkeep.

2. The defendant ANDREW ROBERTSON was employed by Firm A as an office
operations manager for Firm A’s Washington, D.C. and Northern Virginia offices. ROBERTSON’s
responsibilities included purchasing and approving purchase orders for new office supplies,
renovations, and office catering.

3. Firm A issued to ROBERTSON a firm Bank of America Purchasing Credit Card
(hereinafter “P-card”’) that he was instructed to use for purchases made for the law firm in connection

with his law firm duties and responsibilities.
Case 1:21-cr-00209-CKK Document 48 Filed 03/11/21 Page 2 of 4

COUNT 1

4. Paragraphs 1 through 3 of this Information are hereby re-alleged.

5. From in or about February 2017 through in or about November 2018, within the
District of Columbia and elsewhere, the defendant ANDREW ROBERTSON devised and intended
to devise a scheme to defraud and to obtain money and property from Firm A by means of materially
false and fraudulent pretenses, representations, and promises. That is, ROBERTSON used his firm-
issued P-card to make over $400,000 in unauthorized personal purchases from retailers,
unauthorized payments of personal expenses, and unauthorized payments to his own personal
PayPal account. ROBERTSON attempted to cover up these unauthorized transactions by creating
and submitting fraudulent invoices and accounting classifications to Firm A’s billing department to
make it seem as though these expenditures were for legitimate law firm purposes, when, in fact, he
knew that these expenditures were solely for his own personal benefit.

6. For the purpose of executing and attempting to execute the above-described scheme
to defraud, ROBERTSON did knowingly cause to be delivered into the District of Columbia, by
commercial interstate carrier, certain proceeds of this scheme. ROBERTSON regularly used the
Firm A P-card to make purchases from retailers of purely personal items that he arranged to be
delivered to his personal residence, in the District of Columbia, via Federal Express, a commercial
interstate carrier.

7. On or about January 3, 2018, for the purpose of executing and attempting to execute
the above-described scheme to defraud, ROBERTSON placed an order via the online retail website
www.Amazon.com for one pair of Prada Men’s Khakis Stretch Straight Leg Jeans, size US 36 IT
52. The item cost $264.98. Although this was a personal purchase, ROBERTSON paid for the item
using his Firm A P-card. ROBERTSON directed Amazon to deliver the item to his personal

residence in the District of Columbia. The item was delivered to ROBERTSON’s personal
2
Case 1:21-cr-00209-CKK Document 48 Filed 03/11/21 Page 3 of 4

residence, in the District of Columbia, via Federal Express, a commercial interstate carrier.
ROBERTSON later submitted to the Firm A billing/accounting department a false and fraudulent
receipt for this purchase that made it seem as though the purchase was for a legitimate Firm A
business expense.

(Mail Fraud, in violation of Title 18, United States Code, Section 1341).

FORFEITURE ALLEGATION

1. Upon conviction of the offenses alleged in Count One, the defendant ANDREW
ROBERTSON shall forfeit to the United States any property, real or personal, which constitutes or
is derived from proceeds traceable to these offenses, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28
U.S.C. § 2461(c). The United States will also seek a forfeiture money judgment equal to the value
of any property, real or personal, which constitutes or is derived from proceeds traceable to the
offenses.

2. If any of the property described above as being subject to forfeiture, as a result of any act
or omission of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other propeliy that cannot be divided without difficulty;
the defendant shall forfeit to the United States any other property of the defendant, up to the value
of the property described above, pursuant to 21 U.S.C. § 853(p).

(Criminal Forfeiture, pursuant to Title 18, United States Code, Section 981(a)(1)(C); Title
21, United States Code, Section 853(p); and Title 28, United States Code, Section 2461(c)).

3
Case 1:21-cr-00209-CKK Document 48 Filed 03/11/21 Page 4 of 4

BY:

Respectfully submitted,

CHANNING D. PHILLIPS
Acting United States Attorney

tr ay

KATHRYN L. RAKOCZY (DC 994559)
Assistant United States Attorney
U.S. Attorney’s Office

for the District of Columbia
Public Corruption & Civil Rights Section
555 Fourth Street, N.W.
Washington, D.C. 20530
(202) 252-6928 / (202) 740-3245
Kathryn.Rakoczy@usdoj.gov
